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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


  Southern
 ____________________              Texas
                      District of _________________
                                        (State)

                                                            11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               InfoW, LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used                 InfoWars, LLC
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   46       4546916
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                              5606 N. Navarro STE 300-W
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________               PO Box 1819
                                                                                                          _______________________________________________
                                                                                                          P.O. Box

                                                  Victoria, TX 77904
                                              ______________________________________________               Houston, TX 77251-1819
                                                                                                          _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                                  Victoria
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor          InfoW, LLC
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor
                                        X
                                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        X
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5331
                                           ___ ___ ___ ___

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                        X Chapter 11. Check all that apply:
                                        
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                        X
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        X
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                           A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases       X No
                                        
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2
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Debtor           InfoW, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             X Yes.
                                                               IW Health, LLC                                                 Affiliate
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District     Southern District of Texas
                                                               _____________________________________________     When          04/18/2022
                                                                                                                              __________________
       List all cases. If more than 1,                                                                                        MM /    DD    / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          X Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        X
                                           No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                                Number       Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________      _______ ________________
                                                                                City                                         State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information



 13.   Debtor’s estimation of             Check one:
       available funds                     Funds will be available for distribution to unsecured creditors.
                                           After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          X
                                           1-49                               1,000-5,000                           25,001-50,000
 14.   Estimated number of                 50-99                              5,001-10,000                          50,001-100,000
       creditors
                                           100-199                            10,001-25,000                         More than 100,000
                                           200-999

 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
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Debtor          InfoW, LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name



                                         X
                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                        X $1,000,001-$10 million
                                                                                                                         $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of      n   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                         n   I have been authorized to file this petition on behalf of the debtor.

                                         n   I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                            04/18/2022
                                             Executed on _________________
                                                         MM / DD / YYYY


                                            _____________________________________________                 W. Marc Scwartz
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Chief Restructuring Officer
                                             Title _________________________________________




 18.   Signature of attorney
                                          /s/ Kyung S. Lee
                                             _____________________________________________                Date           04/18/2022
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                              Kyung S. Lee
                                             _________________________________________________________________________________________________
                                             Printed name

                                              Parkins Lee & Rubio LLP
                                             _________________________________________________________________________________________________
                                             Firm name

                                              700 Milam Street, STE 1300
                                             _________________________________________________________________________________________________
                                             Number     Street

                                               Houston, TX, 77002
                                             ____________________________________________________            ____________ ______________________________
                                             City                                                            State        ZIP Code

                                               (713) 715-1660
                                             ____________________________________                                klee@parkinslee.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                               121228400
                                             ______________________________________________________ ____________ Texas
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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              CONTINUATION SHEET TO Q.10 OF VOLUNTARY PETITION



Debtor              District        Relationship   Date of Filing   Case Number
Prison Planet TV,   S.D. of Texas   Affiliate      04/18/2022       Unknown
LLC
                             Case 22-60020 Document 1 Filed in TXSB on 04/17/22 Page 6 of 12

 Fill in this information to identify the case:

 Debtor name                                      InfoW, LLC

 United States Bankruptcy Court for the:
                                Southern District of Texas


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                         12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Brennan Gilmore                             Andrew Mendrala             Litigation claim        Disputed                                                    $50,000
      c/o Civil Rights Clinic ATTN:               (202) 662-9065                                      Unliquidated
      Andrew Mendrala                             andrew.mendrala@georget
      600 New Jersey Avenue, NW                   own.edu
      Washington, DC 20001
2     Carlee Soto-Parisi                      Christopher Mattei              Litigation claim        Disputed                                                    Unknown
      c/o Koskoff Koskoff & Bieder            (203) 336-4421                                          Unliquidated
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604

3     Christopher Sadowski                    Daniel DeSouza                  Potential lawsuit for   Contingent                                                  $90,000.00
      c/o Copycat Legal PLLC                  (877) 437-6228                  Copyright               Disputed
      3111 N. University Drive Ste. 301       dan@copycatlegal.com            Infringement            Unliquidated
      Coral Springs, FL 33065

4     Dona Soto                               Christopher Mattei              Litigation claim                                                                    Unknown
      c/o Koskoff Koskoff & Bieder            (203) 336-4421
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604

5     Erica Lafferty                          Christopher Mattei              Litigation claim        Disputed                                                    Unknown
      c/o Koskoff Koskoff & Bieder            (203) 336-4421                                          Unliquidated
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604

6     Francine Wheeler                        Christopher Mattei              Litigation claim        Disputed                                                    Unknown
      c/o Koskoff Koskoff & Bieder            (203) 336-4421                                          Unliquidated
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604

      Ian Hockley                                                             Litigation claim        Disputed                                                    Unknown
7                                             Christopher Mattei
                                                                                                      Unliquidated
      c/o Koskoff Koskoff & Bieder            (203) 336-4421
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604

8     Jacqueline Barden                       Christopher Mattei              Litigation claim        Disputed                                                    Unknown
                                                                                                      Unliquidated
      c/o Koskoff Koskoff & Bieder            (203) 336-4421
      350 Fairfield Ave                       cmattei@koskoff.com
      Bridgeport, CT 06604


Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               page 1
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Debtor       InfoW, LLC                                                                                       Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      Jennifer Hensel                                                     Litigation claim        Disputed                                                 Unknown
9                                         Christopher Mattei
                                                                                                  Unliquidated
      c/o Koskoff Koskoff & Bieder        (203) 336-4421
      350 Fairfield Ave                   cmattei@koskoff.com
      Bridgeport, CT 06604

10 Jeremy Richman                         Christopher Mattei              Litigation claim        Disputed                                                 Unknown
   c/o Koskoff Koskoff & Bieder           (203) 336-4421                                          Unliquidated
   350 Fairfield Ave                      cmattei@koskoff.com
   Bridgeport, CT 06604

11 Jillian Soto                           Christopher Mattei              Litigation claim        Disputed                                                Unknown
   c/o Koskoff Koskoff & Bieder           (203) 336-4421                                          Unliquidated
   350 Fairfield Ave                      cmattei@koskoff.com
   Bridgeport, CT 06604

12 Leonard Pozner                         Mark Bankston                   Litigation claim        Disputed                                                Unknown
   c/o Kaster Lynch Farrar & Ball LLP     (713) 221-8330                                          Unliquidated
   1117 Herkimer                          mark@fbtrial.com
   Houston, TX 77008

13 Marcel Fontaine                        Mark Bankston                   Litigation claim        Disputed                                                Unknown
   c/o Kaster Lynch Farrar & Ball LLP     (713) 221-8300                                          Unliquidated
   1117 Herkimer                          mark@fbtrial.com
   Houston, TX 77008


14 Mark Barden                            Mark Bankston                   Litigation claim        Disputed                                                Unknown
   c/o Koskoff Koskoff & Bieder           (713) 221-8300                                          Unliquidated
   350 Fairfield Ave                      mark@fbtrial.com
   Bridgeport, CT 06604

15 Neil Heslin                            Mark Bankston                   Litigation claim        Disputed                                                Unknown
   c/o Kaster Lynch Farrar & Ball LLP     (713) 221-8300                                          Unliquidated
   1117 Herkimer                          mark@fbtrial.com
   Houston, TX 77008

16 Nicole Hockley                         Christopher Mattei              Litigation claim        Disputed                                                Unknown
   c/o Koskoff Koskoff & Bieder           (203) 336-4421                                          Unliquidated
   350 Fairfield Ave                      cmattei@koskoff.com
   Bridgeport, CT 06604

17 Robert Parker                                                          Litigation claim        Disputed                                                Unknown
                                          Christopher Mattei
                                                                                                  Unliquidated
   c/o Koskoff Koskoff & Bieder           (203) 221-8300
   350 Fairfield Ave                      cmattei@koskoff.com
   Bridgeport, CT 06604

18 Scarlett Lewis                         Mark Bankston                   Litigation claim        Disputed                                                 Unknown
   c/o Kaster Lynch Farrar & Ball,        (713) 221-8300                                          Unliquidated
   LLP                                    Mark@fbtrial.com
   1117 Herkimer Street
   Houston, TX 77008
19 Veronique De La Rosa                   Mark Bankston                   Litigation claim        Disputed                                                Unknown
   c/o Kaster Lynch Farrar & Ball LLP     (713) 221-8300                                          Unliquidated
   1117 Herkimer                          mark@fbtrial.com
   Houston, TX 77008

20 William Sherlach                       Christopher Mattei              Litigation claim        Disputed                                                 Unknown
   c/o Koskoff Koskoff & Bieder           (203) 221-8300                                          Unliquidated
   350 Fairfield Ave                      cmattei@koskoff.com
   Bridgeport, CT 06604
Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

 In re:                                            )
                                                   )
 INFOW, LLC                                        )    Case No. 22 - _________
                                                   )
             Debtor.                               )    Chapter 11 (Subchapter V)

                          LIST OF EQUITY SECURITY HOLDERS


 Registered Name of Holder of Security, Class of Security      Number Registered     Kind of Interest
 Last Known Address or Place of Business
 Robert Dew, Trustee                       Common Equity       100%                  Membership
                                                                                     Interests
 3019 Alvin Devane Blvd., Suite 300
 Austin, TX 78741



                   DECLARATION UNDER PENALTY OF PERJURY
                 ON BEHALF OF A CORPORATION OR PARTNERSHIP

        I, the Chief Restructuring Officer of the limited liability company named as the debtor in
this case, declare under penalty of perjury that I have read the foregoing list and that it is true and
correct to the best of my information and belief.


      04/18/2022
Date:_______________________                   Signature:_________________________________
                                                         W. Marc Schwartz
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION

In re:                                              )
                                                    )
INFOW, LLC                                          )    Case No. 22 - _________
                                                    )
              Debtor.                               )    Chapter 11 (Subchapter V)

                   DECLARATION OF W. MARC SCHWARTZ REGARDING
                      BANKRUPTCY CODE § 1116(1) REQUIREMENTS

         I, W. Marc Schwartz, hereby declare as follows:

                   1.    My name is W. Marc Schwartz.

                   2.    I am a founder of Schwartz & Associates, LLC (“SALLC”). SALLC has

         its principal offices at 712 Main Street, Suite 1830, Houston, Texas. SALLC has been

         engaged in business since 2019. The primary business of SALLC is bankruptcy and

         financial restructuring consulting, serving as financial/economic experts in civil litigation

         matters and, serving as court appointed receivers in federal and state court matters. The

         firm is also licensed as an Investigations Company by the Texas Department of Public

         Safety.

                   3.    SALLC’s services include financial forensics, supervising business

         operations as a trustee, examiner with expanded powers or receiver, valuing business

         assets and income tax related services My firm represents individuals, companies and

         courts in a variety of assignments including as Chief Restructuring Officers, financial

         advisers, trustees and examiners in bankruptcy matters; working as testifying or

         consulting experts on damages and economic issues for parties involved in litigation and

         as a special master for courts where litigation matters are pending; serving as court

         appointed receivers in state and federal courts.
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       4.      I earned a Bachelor of Arts degree from Princeton University and a

Master’s in Business Administration degree from the University of Chicago Booth

School of Business. I am licensed in Texas as a Certified Public Accountant, Certified in

Financial Forensics by the American Institute of Certified Public Accountants, a

Certified Fraud Examiner, and a Licensed Private Investigator.

       5.      I have extensive experience serving as a fiduciary in bankruptcy cases as

either a Chapter 11 Trustee, a Chief Restructuring Officer, or an Examiner with expanded

powers. I have also acted as a receiver over several individuals and entities under state

law.

       6.       I was retained as of April __, 2022 by the Trustee of the Litigation

Settlement Trust formed by InfoW, Inc. (“InfoW”), IWHealth, LLC (“IWH”) and Prison

Planet TV, LCC (“PTV”, and together with the InfoW, IWH, and PTV, the “Debtors”)

as the Debtors’ Chief Restructuring Officer.

       7.      Since my retention, I have met with Bob Roe, a CPA retained to delve

into the books of account of various entities affiliated with the Debtors and assist those

entities to prepare accurate financials statements which could be relied upon by the reader

to accurately reflect the financial condition and activities of the entities. I have also met

with counsel for the Debtors and Mr. Jones to obtain an understanding of the Debtors’

operations. I have also reviewed lists of assets owned by the Debtors.

       8.      I have learned that the Debtor’s have no purpose other than to hold assets

which may be used by other entities. They undertake no business activities, they do not

sell, rent or lease to others anything. Their assets do not generate any income for them.

They have no bank accounts and do not pay money to anyone for any reason. They have

no debt or other liabilities other than those related to pending or potential litigation. For

                                          2
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       these reasons, they have no financial statements or books of account and they do not file

       income tax returns.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       04/18/2022
Dated:___________________________            By:_______________________________________
                                                W. Marc Schwartz




                                                3
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